Case 5:12-cv-02184-DEW-MLH Document 10 Filed 11/15/13 Page 1 of 6 PageID #: 74



                          UNITED STATES DISTRICT COURT

                         WESTERN DISTRICT OF LOUISIANA

                                 SHREVEPORT DIVISION

 RICKY RAY LEWIS                                    CIVIL ACTION NO. 12-2184-P

 VERSUS                                             JUDGE FOOTE

 PAUL GUILLOT, ET AL.                               MAGISTRATE JUDGE HORNSBY

                          REPORT AND RECOMMENDATION

        This matter has been referred to the undersigned magistrate judge for review, report

 and recommendation in accordance with 28 U.S.C. §636(b)(1)(B).

                                 STATEMENT OF CLAIM

        Before the court is a civil rights complaint filed in forma pauperis by pro se plaintiff

 Ricky Ray Lewis (“Plaintiff”), pursuant to 42 U.S.C. § 1983. This complaint was received

 and filed in this court on August 15, 2012. Plaintiff is incarcerated at David Wade

 Correctional Center in Homer, Louisiana, and alleges that his civil rights were violated by

 prison officials. Plaintiff names Paul Guillot and Tonya Guillot as defendants.

        Plaintiff claims Paul Guillot and Tonya Guillot are married. He claims when they

 work as field officers on the same shift and within the same environment, they create an

 unsafe and unethical work area and environment. He claims that on May 1, 2012, he filed

 a grievance with Warden Goodwin about Defendants’ work ethics.

        Plaintiff claims that on May 23, 2012, Paul Guillot filed a disciplinary report charging

 him with aggravated disobedience. Plaintiff claims on May 28, 2012, he was convicted of

 the charge for refusing a direct order to get in line for headcount based only on Paul Guillot’s
Case 5:12-cv-02184-DEW-MLH Document 10 Filed 11/15/13 Page 2 of 6 PageID #: 75



 statement. He claims he was sentenced to eight weeks loss of commissary and eight weeks

 loss of yard and recreation.

        Plaintiff claims that on June 21, 2012, Tonya Guillot filed a disciplinary report

 charging him with aggravated disobedience. Plaintiff claims that on June 28, 2012, he was

 convicted of the charge for refusing a direct order to stop talking based only on Tonya

 Guillot’s statement. He claims he was sentenced to six weeks loss of commissary and six

 weeks loss of yard and recreation.

        Plaintiff claims Paul Guillot and Tonya Guillot both filed disciplinary reports against

 him in order to retaliate against him for filing a grievance against them. Plaintiff claims he

 had a perfect conduct record without any write-ups for the previous two years before coming

 to David Wade Correctional Center. He further claims Defendants are the only officers who

 have ever charged him with disciplinary violation.

        Accordingly, Plaintiff seeks any just and equitable relief and compensatory and

 punitive damages.

                                  LAW AND ANALYSIS

 Due Process in the Disciplinary Process

        To the extent Plaintiff contends he was punished without due process, that claim is

 not cognizable. In Sandin v. Connor, 515 U.S. 472, 115 S.Ct. 2293, 132 L.Ed.2d 418 (1995),

 the Supreme Court clarified when due process protections attach to the prison disciplinary

 process. The Supreme Court held that the Due Process Clause of the Fourteenth Amendment

 does not afford an inmate a protected liberty interest that would entitle the inmate to

                                          Page 2 of 6
Case 5:12-cv-02184-DEW-MLH Document 10 Filed 11/15/13 Page 3 of 6 PageID #: 76



 procedural protections in the disciplinary process when the maximum sanction the inmate

 could receive does not "present the type of atypical, significant deprivation in which a state

 might conceivably create a liberty interest" and the duration of the prisoner's original

 sentence is not affected. Id. 132 L.Ed.2d at 431. Under the guidance provided by Sandin,

 the Fifth Circuit has held that as a general rule, only sanctions which result in loss of good

 time credit or which otherwise directly and adversely affect release will implicate a

 constitutionally protected liberty interest. Orellana v. Kyle, 65 F.3d 29, 31-32 (5th Cir.

 1995). Moreover, in commenting on Sandin, the Fifth Circuit noted that liberty interests

 which are protected by the Due Process Clause are generally limited to actions which affect

 the quantity of time rather than the quality of time served by a prisoner. Madison v. Parker,

 104 F.3d 765, 767 (5th Cir. 1997) citing Sandin, 115 S.Ct. at 2297.

        Plaintiff does not allege that the disciplinary actions affected the duration of his

 sentence or that the disciplinary sentences were atypical of the prison environment. To the

 contrary, Plaintiff’s allegations concern changes in the conditions of confinement which are

 far from “extraordinary.” This Court finds that under Sandin, Orellana and Madison, eight

 and six weeks loss of commissary and eight and six weeks loss of yard and recreation do not

 constitute the type of atypical punishment that presents a significant deprivation which would

 implicate due process concerns. Hence, Plaintiff’s claim that he was punished without due

 process of law is without merit.

        Accordingly, Plaintiff’s claims regarding due process in the prison disciplinary

 proceedings should be dismissed with prejudice as frivolous.

                                          Page 3 of 6
Case 5:12-cv-02184-DEW-MLH Document 10 Filed 11/15/13 Page 4 of 6 PageID #: 77



 False Disciplinary Report

        To the extent Plaintiff claims Defendants filed false disciplinary reports against him,

 Plaintiff has no right which protects him from being charged with a disciplinary offense.

 This is true regardless of the truth of the initial report. Freeman v. Rideout, 808 F.2d 949,

 952 (2nd Cir. 1986); Hanrahan v. Lane, 747 F.2d 1137, 1140-41 (7th Cir. 1984); Cardine v.

 Tucker, 23 F.3d 406 (Table), 1994 U.S. App. LEXIS 17566 (6th Cir. 1994). Accordingly,

 even if the actions of Defendants resulted in false disciplinary action being taken against

 him, Plaintiff’s claim against them is not cognizable because he has no constitutional

 protection from being wrongly charged with a disciplinary offense.

        Accordingly, Plaintiff claims regarding false disciplinary reports should be dismissed

 with prejudice as frivolous.

 Retaliation

        Plaintiff contends that his constitutional rights were violated by Defendants as

 retaliation for his filing of a grievance against them. To state a claim of retaliation an inmate

 must allege the violation of a specific constitutional right and be prepared to establish that

 but for the retaliatory motive the complained of incident--such as the filing of a disciplinary

 report--would not have occurred. Woods v. Smith, 60 F.3d 1161 (5th Cir. 1995), citing Mt.

 Healthy City School Board District Bd. Of Education v. Doyle, 429 U.S. 274, 97 S.Ct. 568,

 50 L.Ed.2d 471 (1977).

        As shown above, Plaintiff’s constitutional rights have not been shown to have been

 violated. Moreover, the retaliatory motive alleged by Plaintiff is entirely conclusory as he

                                           Page 4 of 6
Case 5:12-cv-02184-DEW-MLH Document 10 Filed 11/15/13 Page 5 of 6 PageID #: 78



 provides no specific allegations showing that “but for” this motive he would not have been

 written up for a rule violation. Accordingly, Plaintiff’s claims regarding retaliation should

 be dismissed with prejudice as frivolous.

                                       CONCLUSION

        Because Plaintiff filed this proceeding in forma pauperis ("IFP"), if this court finds

 Plaintiff's complaint to be frivolous, it may dismiss the complaint as such at any time, before

 or after service of process, and before or after answers have been filed. See 28 U.S.C.

 § 1915(e); Green v. McKaskle, 788 F.2d 1116, 1119 (5th Cir. 1986); Spears v. McCotter, 766

 F.2d 179, 181 (5th Cir. 1985). District courts are vested with extremely broad discretion in

 making a determination of whether an IFP proceeding is frivolous and may dismiss a claim

 as frivolous if the IFP complaint lacks an arguable basis either in law or in fact. See Hicks

 v. Garner, 69 F.3d 22 (5th Cir. 1995); Booker v. Koonce, 2 F.3d 114 (5th Cir. 1993); Neitzke

 v. Williams, 490 U.S. 319, 109 S.Ct. 1827 (1989).

        Accordingly;

        IT IS RECOMMENDED that Plaintiff’s civil rights complaint be DISMISSED

 WITH PREJUDICE as frivolous and for failure to state a claim upon which relief may be

 granted pursuant to 28 U.S.C. § 1915(e)(2)(B)(I) and (ii).

                                        OBJECTIONS

        Under the provisions of 28 U.S.C. § 636(b)(1)(C) and Fed. R. Civ. P. 72(b), parties

 aggrieved by this recommendation have fourteen (14) days from service of this Report and

 Recommendation to file specific, written objections with the Clerk of Court, unless an

                                          Page 5 of 6
Case 5:12-cv-02184-DEW-MLH Document 10 Filed 11/15/13 Page 6 of 6 PageID #: 79



 extension of time is granted under Fed. R. Civ. P. 6(b). A party may respond to another

 party’s objection within ten (10) days after being served with a copy thereof. Counsel are

 directed to furnish a courtesy copy of any objections or responses to the District Judge at the

 time of filing.

        A party’s failure to file written objections to the proposed findings, conclusions and

 recommendations set forth above, within fourteen (14) days after being served with a copy

 shall bar that party, except upon grounds of plain error, from attacking, on appeal, the

 proposed factual findings and legal conclusions that were accepted by the district court and

 that were not objected to by the aforementioned party. See Douglas v. U.S.A.A., 79 F.3d

 1415 (5th Cir. 1996) (en banc).

        THUS DONE AND SIGNED, in chambers, in Shreveport, Louisiana, on this 15th

 day of November 2013.




                                          Page 6 of 6
